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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MONTANA

HELENA DIVISION
MARIA MOELLER and RON
MOELLER,
No. CV-20-22-H-SEH
Plaintiffs,
vs. ORDER

THE ALIERA COMPANIES, INC.;
TRINITY HEALTHSHARE;
TIMOTHY MOSES, SHELLEY
STEELE, CHASE MOSES, and
DOES 1-10,

Defendants.

 

 

ORDERED:
Plaintiffs Motion for Extension of Time to Perfect Service on Shelley
Steele! is GRANTED. Plaintiff is granted to and including December 4, 2020, to

effect service on Defendant Shelley Steele.

 

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FURTHER ORDERED:
Shelley Steele’s Motion to Dismiss for Insufficient Service and Lack of
Personal Jurisdiction’ is DENIED WITHOUT PREJUDICE to renewal upon

service of process effected upon Defendant Shelley Steele.

DATED this H4,,. of November, 2020.

ghm fodblor

“SAM E. HADDON
United States District Judge

 

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